                                    Case 1:25-cv-00613-MLB      Document 11                  Filed 03/18/25                   Page 1 of 6
       OFFICE OF THE CLERK
UNITED STATES DISTRICT COURT
    2211 UNITED STATES COURTHOUSE




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       75 TED TURNER DRIVE, S .W.
     ATLANTA, GEORGIA 30303

           OFFICIAL BUSINESS




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                                                                  MAR 17 2025
                                                               KEVIN p . W EIMER, Clerk
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              l:25cv613
                  1:25-cv-00613-MLB   Document 11   Filed 03/18/25   Page 2 of 6




         GroupManagement
       123 Linden Blvd
       Ste 9-L
       Brooklyn, NY 11226




               ***************        ATTENTION     ***************
Attorney Registration for Electronic Case Filing (ECF)
Electronic Filing became mandatory for all attorneys effective July 15,
2005. If you are a bar member in good standing with the Northern District of
Georgia or an attorney admitted pro hac vice, visit our website at
http://www.gand.uscourts.gov for information on obtaining ECF access.
CM/ECF-GA Northern Case
                   District 1:25-cv-00613-MLB
                            Court                     Document 11          Filed 03/18/25 Page 3 of 6
                                                                           https://gand-ecf.sso.dcn/cgi-bin/Dispatch.pl ?643245 100238247

     Other Orders/Judgments
         1:25-cv-00613-MLB Ware et al v.
         Alr2ha Car2ital , AG et al

         0months ,MLBLC1


                                                      U.S. District Court

                                                 Northern District of Georgia

         Notice of Electronic Filing

     The fo llowing transaction was entered on 2/14/2025 at 8: 45 AM EST and fi led on 2/13/2025
     Case Name:            Ware et al v. Alpha Capital, AG et al
     Case Number:          1:25-cv-0061 3-MLB
     Filer:
     Document Number: 4

     Docket Text:
     ORDER. The Court NOTIFIES Appellant Group Management that a corporation cannot appear
     prose and must be represented by counsel.The Court NOTIFIES Appellant Group
     Management that a corporation cannot appear pro se and must be represented by counsel.
     The Court ORDERS Appellant Group Management to have counsel file a notice of appearance
     with the Clerk no later than March 6, 2025. Failure to comply with this order may result in
     sanctions against Appellant Group Management, including dismissal. The Court DIRECTS the
     Clerk to submit this matter after March 6, 2025, if an attorney does not file a notice of
     appearance on behalf of Appellant Group Management. Signed by Judge Michael L. Brown on
     this 13th day of February, 2025. (pdt)


         1:25-cv-00613-MLB Notice has been electronically mailed to:

         1:25-cv-00613-MLB Notice has been delivered by other means to:

         Group Management
         123 Linden Blvd
         Ste 9-L
         Brooklyn, NY 11226

         Ulysses T. Ware
         123 Linden Blvd
         Ste 9-L
         Brooklyn, NY 11226

         The following document(s) are associated with this transaction:

         Document description:Main Document
         Original filename: n/a
         Electronic document Stamp:
         [STAMP dcecfStamp_ID=106086875 3 [Date=2/14/2025 ] [FileNumber=146225 75-


I of 2                                                                                                               2/14/2025, 8:46 AM
CM/ECF-GA Northern Case
                   District1:25-cv-00613-MLB
                           Court               Document 11   Filed 03/18/25 Page 4 of 6
                                                             https://gand-ecf.sso.dcn/cgi-bin/Dispatch.pl?643245 l 00238247

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    54eb43d736cfb018d9eb4ba24670c60c832d62eeac27e221ce810fb57b7112]]




2 of2                                                                                                  2/14/2025 , 8:46 AM
     Case 1:25-cv-00613-MLB     Document 11     Filed 03/18/25    Page 5 of 6
       Case 1:25-cv-00613-MLB    Document 4     Filed 02/13/25   Page 1 of 2




           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION


Ulysses T. Ware and Group
Management,

                        Appellants,
                                              Case No. 1:25-cv-613-MLB
V.


Alpha Capital, AG, et al. ,

                        Appellees,

_ _ _ __ _ _ _ _ _ _!

                                   ORDER

      Appellants Ulysses T. Ware and Group Management seek to appeal

an order entered by the United States Bankruptcy Court for the Northern

District of Georgia. After reviewing the bankruptcy record, the Court

notes that Appellants paid the required filing fee on February 12, 2025.

(See 02/12/2025 Docket Entry in Bankruptcy Case No. 03-93031.)

      The Court also notes, however, that Appellant Group Management

is not represented by counsel. The Court NOTIFIES Appellant Group

Management that a corporation cannot appear pro se and must be

represented by counsel. Palazzo u. Gulf Oil Corp. , 764 F.2d 1381, 1385
    Case 1:25-cv-00613-MLB     Document 11   Filed 03/18/25    Page 6 of 6
      Case 1:25-cv-00613-MLB    Document 4   Filed 02/13/25   Page 2 of 2




(11th Cir. 1985). "This rule applies even when the person seeking to

represent the corporation is its president .. . ." CNH Capital Am., LLC

v. Se. Aggregate, Inc. , No. CV608-027, 2009 WL 1468999, at *1 (S.D. Ga.

May 26, 2009) (quoting F. T.C. v. Gem Merch. Corp. , No. 95-8364, 1995

WL 623168, at *1 (11th Cir. 1995)); see also LR 83.1E(2)(b)(l), NDGa.

     The Court ORDERS Appellant Group Management to have

counsel file a notice of appearance with the Clerk no later than March 6,

2025. Failure to comply with this order may result in sanctions against

Appellant Group Management, including dismissal.

     The Court DIRECTS the Clerk to submit this matter after March

6, 2025, if an attorney does not file a notice of appearance on behalf of

Appellant Group Management.

     SO ORDERED this 13th day of February, 2025.



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                                M l r i i l ~RO WN
                                                                    -
                                UNITED STATES D ISTRICT JUDGE




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